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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            Case No.: 1:22-cv-22594-B Bloom


  MOVIE PROP RENTALS LLC, a Florida
  limited liability company; and MIAMI
  PROP RENTALS LLC, a Florida limited
  liability company;

         Plaintiffs,

  vs.

  THE KINGDOM OF GOD GLOBAL
  CHURCH a foreign Missouri not for
  Profit corporation and JOSHUA MEDIA
  MINISTRIES INTERNATIONAL a foreign
  Missouri not for profit corporation;

        Defendants.
  ___________________________________/

                               STIPULATION FOR NON-JURY TRIAL
                               AND JOINT MOTION TO RESET TRIAL

         The parties, by and through their undersigned counsel respectfully, file this Stipulation

  and Joint Motion to request this Honorable Court to enter and Order permitting non-jury trial

  (instead of current jury trial) and rescheduling the trial currently set for December 18, 2023, until

  at least mid-January 2024, upon the next available non-jury trial period thereafter, and in support

  thereof states as follows:

         1.      This action is scheduled for jury trial in the two-week jury trial calendar

  beginning December 18, 2023.

         2.       With the court’s permission, the parties stipulate and jointly request that the court

  permit the final hearing and trial of this lawsuit to occur non-jury, instead of the currently

  scheduled jury trial. This would conserve judicial labor, and significantly reduce expenses to the
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  parties, in that there is a lot of additional preparation required for jury trial, and the parties

  estimate that a jury trial would require approximately four jury trial days and a non-jury trial of

  this case would only consume approximately two non-jury days.

         3.      In addition, the parties are presently engaged in settlement discussions, and as of

  today are seeking to resolve this dispute through an informal mediation to be scheduled between

  mid-December 2023 and mid-January 2024, depending upon availability of the parties and their

  counsel.

         4.      Also, as a Christian Church, the Defendants have multiple prearranged events and

  services throughout the Christmas season that align with the current scheduled trial dates,

  creating significant challenges for their attendance at the trial. In addition, Defendants are located

  in Missouri, which makes it more difficult to travel for the trial and manage the Church duties.

         5.      Further, attorneys and staff members from both parties have prearranged and

  prepaid holiday events and vacations with their children and families which coincide with the

  current December 18, 2023 jury trial calendar. Consequently, some will be out of the state during

  the currently scheduled trial calendar.

         6.      Furthermore, the expert retained by the Defendants is presently located outside

  the state and is unable to attend the trial currently scheduled during the Christmas season due to

  prior commitments.

         7.      Additionally, the parties stipulate and jointly request the Court to reschedule the

  pre-trial stipulation from December 4, 20223 to a later date, pending approval for the trial

  continuance by the judge and in proximity to the new trial date.

         8.      This Motion is filed in good faith and not for purposes of delay.
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         WHEREFORE, the parties respectfully request that the Court grant the relief requested,

  to permit non-jury trial (instead of jury trial) with the trial not occurring until at least mid-

  January 2024, upon the next available non-jury trial period thereafter; reschedule the pre-trial

  stipulation from December 4, 20223 to a later date, in proximity to the new trial date, and such

  further relief this Court deems just and equitable.

                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(A), undersigned counsel certified that both parties

  conferred and have agreed to relief requested herein and have no objection to the trial being

  rescheduled as stated.

                                                        Respectfully submitted,

                                                    s/ Michelle D. Cofino
                                                    Reginald J. Clyne, Esq.
                                                    Florida Bar No. 654302
                                                    Michelle D. Cofino, Esq.
                                                    Florida Bar No.: 27684
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                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on December 1, 2023, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record on the service list below in the manner specified,
  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.


                                              By: /s/ Michelle D. Cofino
                                                 Michelle D. Cofiño, Esq.
